                                    EXHIBIT 5
                                    INVOICES




21-44887-lsg   Doc 108-5   Filed 10/07/21   Entered 10/07/21 15:19:24   Page 1 of 20
                                                Gordon Food Service Inc                                                                                                       Page 1 of 2
                                                Shipped From Clay Distribution Ctr
                                                4900 Clay Avenue SW - Wyoming, MI 49548                                                                   Invoice            210129905
                                                Corporate Phone # 1-888--968-7500
                                                www.gfs.com
                                                                                                                                           Purchase Order

                                                                                                                                                  Invoice Date               05/18/2021

GFS-MC      Stop        Customer                                                                                 Representative                                                              Terms
61751          15       100269618 GRACEWAY AT COUNTRYSIDE                                                        970: Kimberly Brouwers 1(800)905-1742 / 1(800)905-1742                       10 DAYS SPLIT
                                                                                                                 751: Tom Frederick 1(800)968-6112



     Ship To GRACEWAY AT COUNTRYSIDE                                                                             Bill To GRACEWAY SOUTH HAVEN, LLC.
             120 BASELINE RD                                                                                             120 BASELINE ROAD
             SOUTH HAVEN MI 49090-1037                                                                                   LANSING MI 48909




  Item                 Qty                                                                                                                                 Invent.                              Extended
               Spec




                                                                                                                                                                                       Tax
                                                                                                                                                    Cat
                                   Unit                                            Item Description                                                                  Unit Price
  Code                 Ship                                                                                                                                 Value                                 Price
 784691        N         1       CASE 6-5# HASH BROWN BRGR B03                                                                                     FR        14.18        85.08                         85.08
                                           THE ITEM LISTED ABOVE IS A SPECIAL ORDER ITEM (#4479326) AND
                                           MAY NOT BE RETURNED
  Totals:                1                    Total Grocery Pieces


 999999                  1       EACH 1-SPECIAL ORDER FREIGHT                                                                                      SV                    129.80                        129.80
                                           THE ITEM LISTED ABOVE IS A SPECIAL ORDER ITEM (#4479326) AND
                                           MAY NOT BE RETURNED
  Totals:                1                    Total Miscellaneous Pieces

                                                                                                                                                                           Page sub-total:             214.88



                               Spec Key
   Code                            Description
                                                                                                                                     Group Summary
    N                             Non-stock Item
                                                                               Cases           Group                                                           Amount          Tax                    Total
                                                                                   1 Frozen - FR                                                                 85.08         0.00                   85.08
                                                                                   1 Service Items - SV                                                         129.80         0.00                  129.80
                                                                                   2 Total Case Count
Customer's signature evidences receipt of all items listed and its promise to pay the amount due to GFS. Customer agrees that if a check, draft
or any other order of payment (each, a "Transaction") issued for payment of this invoice is dishonored, GFS may re-present the Transaction                                SubTotal                   $214.88
and issue a draft against the account upon which the Transaction is drawn for a fee up to the maximum permitted by law. All unpaid invoices
are subject to a time price differential of 1 1/2% per month on the unpaid balance after the due date. ~ The perishable agricultural                                   Invoice Total                 $214.88
commodities shown on this invoice are sold subject to the statutory trust authorized by section 5(c) of the Perishable Agricultural Commodities
Act, 1930 (7 U.S.C. 499e(c)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivable or proceeds from the sale of these commodities until full payment is received. ~
NSSP Certification #MI-020-RS ~ NSSP Certification #MI-017-RS




 Received By                                                                        Print Name




                      21-44887-lsg                 Doc 108-5                 Filed 10/07/21                    Entered 10/07/21 15:19:24                             Page 2 of 20
                                       Gordon Food Service Inc                                                                             Page 2 of 2
                                       Shipped From Clay Distribution Ctr
                                       4900 Clay Avenue SW - Wyoming, MI 49548                                   Invoice                  210129905
                                       Corporate Phone # 1-888--968-7500
                                       www.gfs.com
                                                                                                     Purchase Order

                                                                                                          Invoice Date                    05/18/2021

GFS-MC       Stop         Customer                                               Representative                                                 Terms
 61751          15        100269618 GRACEWAY AT COUNTRYSIDE                      970: Kimberly Brouwers 1(800)905-1742 / 1(800)905-1742           10 DAYS SPLIT
                                                                                 751: Tom Frederick 1(800)968-6112




FOLD AND TEAR ALONG                                                                                                                                FOLD AND TEAR ALONG
PERFORATION THEN RETURN
BOTTOM PORTION
                                                            Thank you for your order.                                                          PERFORATION THEN RETURN
                                                                                                                                                       BOTTOM PORTION

                                                      Please enclose this stub with payment.

                                                                                         Customer Number                          100269618
          Remit To   Gordon Food Service, Inc.                                                         Invoice                    210129905
                     P.O. BOX 88029                                                         Purchase Order
                     Chicago, IL 60680-1029
                                                                                                  Invoice Date                    05/18/2021
                                                                                                Due Date                          05/25/2021
                                                                                         Pay This Amount                           $214.88
                     21-44887-lsg       Doc 108-5        Filed 10/07/21 Entered 10/07/21 15:19:24 Page 3 of 20
                                                                     100269618310210129905000021488200002148825
                                                Gordon Food Service Inc                                                                                                        Page 1 of 2
                                                Shipped From Clay Distribution Ctr
                                                4900 Clay Avenue SW - Wyoming, MI 49548                                                                   Invoice             210156949
                                                Corporate Phone # 1-888--968-7500
                                                www.gfs.com
                                                                                                                                           Purchase Order                  Housekeeping

                                                                                                                                                  Invoice Date                05/19/2021

Route       Stop        Customer                                                                                 Representative                                                               Terms
 1131         080       100269618 GRACEWAY AT COUNTRYSIDE                                                        970: Kimberly Brouwers 1(800)905-1742 / 1(800)905-1742                        10 DAYS SPLIT
                                                                                                                 751: Tom Frederick 1(800)968-6112



        Ship To GRACEWAY AT COUNTRYSIDE                                                                          Bill To GRACEWAY SOUTH HAVEN, LLC.
                120 BASELINE RD                                                                                          120 BASELINE ROAD
                SOUTH HAVEN MI 49090-1037                                                                                LANSING MI 48909




  Item                 Qty                                                                                                                                 Invent.                                Extended
               Spec




                                                                                                                                                                                        Tax
                                                                                                                                                    Cat
                                   Unit                                            Item Description                                                                  Unit Price
  Code                 Ship                                                                                                                                 Value                                   Price
 169641                  1       CASE 6-ROLL TOWEL NAT 800' 169641GF/RK8002                                                                        DS         6.43         38.57              1          38.57
 321982                  2       CASE 10-25CT LINER CAN CLR 45GAL 965261                                                                           DS         6.08         60.84              1         121.68
 579491                  2       CASE 20-50CT LINER CAN CLR 7-10GAL 965213                                                                         DS         1.63         32.55              1          65.10
 129231                  1       CASE 9-32FLZ DISINFCT SPRAY CLEAN-UP 35417                                                                        CP         5.01         45.10              1          45.10
 162282                  1       CASE 2-1GAL DETRGNT LNDRY PREM 100867460                                                                          CP       109.04        218.08              1         218.08
 177213                  7       CASE 50# SALT PELLET IRON FIGHT 100012467                                                                         CP        13.94         13.94              1          97.58
 203998                  1       CASE 4-1GAL CLNR FLR NEUTRAL 4342884/77154                                                                        CP        14.25         56.99              1          56.99
 552739                  1       CASE 4-1GAL CARPET CLEANER 4341734/3216309                                                                        CP        15.57         62.28              1          62.28
 579233                  1       CASE 4-1250ML SOAP HND FM 04-BY900PC                                                                              CP        22.51         90.02              1          90.02
 703559                  3       CASE 6-32FLZ TB-QUAT DISINF 964276/4360231                                                                        CP        11.23         67.38              1         202.14
  Totals:               20                    Total Grocery Pieces

                                                                                                                                                                            Page sub-total:             997.54




                                                                                                                                     Group Summary
                                                                               Cases          Group                                                            Amount          Tax                     Total
                                                                                   5 Disposables - DS                                                           225.35        13.52                   238.87
                                                                                  15 Sanitation - CP                                                            772.19        46.33                   818.52
                                                                                  20 Total Case Count
Customer's signature evidences receipt of all items listed and its promise to pay the amount due to GFS. Customer agrees that if a check, draft
or any other order of payment (each, a "Transaction") issued for payment of this invoice is dishonored, GFS may re-present the Transaction                                 SubTotal                   $997.54
and issue a draft against the account upon which the Transaction is drawn for a fee up to the maximum permitted by law. All unpaid invoices
are subject to a time price differential of 1 1/2% per month on the unpaid balance after the due date. ~ The perishable agricultural                             (1) MI State Tax - 6                  $59.85
commodities shown on this invoice are sold subject to the statutory trust authorized by section 5(c) of the Perishable Agricultural Commodities
Act, 1930 (7 U.S.C. 499e(c)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other                           Invoice Total              $1,057.39
products derived from these commodities and any receivable or proceeds from the sale of these commodities until full payment is received. ~
NSSP Certification #MI-020-RS ~ NSSP Certification #MI-017-RS



                                                                                    GFS DRIVER
 Received By                                                                        Print Name




                      21-44887-lsg                 Doc 108-5                 Filed 10/07/21                    Entered 10/07/21 15:19:24                             Page 4 of 20
                                       Gordon Food Service Inc                                                                             Page 2 of 2
                                       Shipped From Clay Distribution Ctr
                                       4900 Clay Avenue SW - Wyoming, MI 49548                                   Invoice                  210156949
                                       Corporate Phone # 1-888--968-7500
                                       www.gfs.com
                                                                                                     Purchase Order                 Housekeeping

                                                                                                          Invoice Date                    05/19/2021

Route        Stop         Customer                                               Representative                                                 Terms
  1131          080       100269618 GRACEWAY AT COUNTRYSIDE                      970: Kimberly Brouwers 1(800)905-1742 / 1(800)905-1742           10 DAYS SPLIT
                                                                                 751: Tom Frederick 1(800)968-6112




FOLD AND TEAR ALONG                                                                                                                                FOLD AND TEAR ALONG
PERFORATION THEN RETURN
BOTTOM PORTION
                                                            Thank you for your order.                                                          PERFORATION THEN RETURN
                                                                                                                                                       BOTTOM PORTION

                                                      Please enclose this stub with payment.

                                                                                         Customer Number                          100269618
          Remit To   Gordon Food Service, Inc.                                                         Invoice                    210156949
                     P.O. BOX 88029                                                         Purchase Order                     Housekeeping
                     Chicago, IL 60680-1029
                                                                                                  Invoice Date                    05/19/2021
                                                                                                Due Date                          05/25/2021
                                                                                         Pay This Amount                           $1,057.39
                      21-44887-lsg      Doc 108-5        Filed 10/07/21 Entered 10/07/21 15:19:24 Page 5 of 20
                                                                     100269618310210156949000105739700010573973
                                          Gordon Food Service Inc                                                                               Page 1 of 4
                                          Shipped From Clay Distribution Ctr
                                          4900 Clay Avenue SW - Wyoming, MI 49548                                        Invoice               210156953
                                          Corporate Phone # 1-888--968-7500
                                          www.gfs.com
                                                                                                          Purchase Order

                                                                                                               Invoice Date                    05/19/2021

Route     Stop       Customer                                                         Representative                                                     Terms
 1131       079      100269618 GRACEWAY AT COUNTRYSIDE                                970: Kimberly Brouwers 1(800)905-1742 / 1(800)905-1742              10 DAYS SPLIT
                                                                                      751: Tom Frederick 1(800)968-6112



        Ship To GRACEWAY AT COUNTRYSIDE                                              Bill To GRACEWAY SOUTH HAVEN, LLC.
                120 BASELINE RD                                                              120 BASELINE ROAD
                SOUTH HAVEN MI 49090-1037                                                    LANSING MI 48909




  Item               Qty                                                                                                  Invent.                           Extended
             Spec




                                                                                                                                                   Tax
                                                                                                                   Cat
                                Unit                              Item Description                                                  Unit Price
  Code               Ship                                                                                                  Value                              Price
 167000               1     CASE 48-4Z PUDDING VAN LT 00049000073491                                              GR         0.51        24.27                     24.27
 733061               1     CASE 30-1# MARGARINE SLD GCHC 21642GFS                                                GR         1.09        32.77                     32.77
 522201               1     CASE 2-9#AVG BEEF RND 103584966/7522200 18.63 LB                                      MT                       5.47                   101.91
                                       Item 522201 = 18.63 LB / $101.91
 680656               1     CASE 6-2# GFS DELI-SLCD HAM VIRG 90410003                                             MT         9.14        54.81                     54.81
 718000               1     CASE 2-14#AVG BEEF RST CKD 103586416/50312 25.2 LB                                    MT                       5.51                   138.85
                                       Item 718000 = 25.2 LB / $138.85
 164216               1         PKG 4-5# CHEESE AMER 120CT SLCD 100331                                            DY        17.53        17.53                     17.53
 191043               1         BAG 4-5# CHEESE CHED MLD SHRD FINE 26833                                          DY        18.11        18.11                     18.11
 265454               1     CASE 6-30CT EGG SHL 46025-41420/63514-4142                                            DY         9.93        59.57                     59.57
 285218               2          TUB 4-5# SOUR CREAM                                                              DY        10.01        10.01                     20.02
 329487               2          TUB 4-5# CHEESE COTTAGE SML 1%                                                   DY        10.02        10.02                     20.04
 487961               1     CASE 12-1QT CREAMER HLF & HLF P/L 5005599                                             DY         2.72        32.66                     32.66
 504602               4     CASE 4-1GAL MILK WHT 2% P/L                                                           DY         4.06        16.25                     65.00
 512109               3     CASE 4-1GAL MILK WHT WHL RGNLBRND P/L                                                 DY         4.31        17.25                     51.75
 552931               1     CASE 48-4Z YOGURT VAR STRAWB 1957                                                     DY         0.40        19.31                     19.31
 557540               1         PAIL 10# EGG HARD CKD PLD 9612094063                                              DY        23.00        23.00                     23.00
 762861               2     CASE 15-2# EGG SCRMBD LIQ MIX P/L                                                     DY         3.30        49.48                     98.96
 765020               3     CASE 48-4Z YOGURT VAR PK N/F 468                                                      DY         0.43        20.50                     61.50
 666505               1         BOX 1-3GAL JUICE BIB ORNG 60% 5+1 H666505                                         BV       111.82       111.82                    111.82
 666556               1         BOX 1-3GAL JUICE BIB GRP BLND HV H666556                                          BV        89.84        89.84                     89.84
 198889               1     CASE 4-2# ONION GREEN CLPD P/L                                                        PR         6.02        24.06                     24.06
 200476               1         BAG 1-50# RED POTATOES "B" SZ MRKN                                                PR        35.86        35.86                     35.86
 200565               1     CASE 12-15CT MELON MUSK CANTALOUPE P/L                                                PR         2.88        34.53                     34.53
 212768               1     CASE 8# STRAWBERRIES 92684/92681                                                      PR        23.70        23.70                     23.70
 326089               1     CASE 1-2CT WATERMELON RED SDLSS P/L                                                   PR        12.71        25.42                     25.42
 462551               1     CASE 25# TOMATO ROMA MRKN                                                             PR        38.27        38.27                     38.27
 592293               1     CASE 1-10# CARROT MED/JUMBO P/L                                                       PR        10.37        10.37                     10.37
 592315               1     CASE 1-5# PEPPERS GREEN LRG MRKN                                                      PR        11.93        11.93                     11.93
 592323               2     CASE 1-6CT CUCUMBER SELECT MRKN                                                       PR         1.52          9.12                    18.24
 596914               1     CASE 1-5# GRAPE RED SDLSS MRKN 91805                                                  PR        22.62        22.62                     22.62
                                                                                                                                          Page sub-total:        1,286.72




                    21-44887-lsg            Doc 108-5         Filed 10/07/21         Entered 10/07/21 15:19:24                      Page 6 of 20
                                        Gordon Food Service Inc                                                                                Page 2 of 4
                                        Shipped From Clay Distribution Ctr
                                        4900 Clay Avenue SW - Wyoming, MI 49548                                         Invoice               210156953
                                        Corporate Phone # 1-888--968-7500
                                        www.gfs.com
                                                                                                         Purchase Order

                                                                                                              Invoice Date                    05/19/2021

Route     Stop       Customer                                                        Representative                                                     Terms
 1131       079      100269618 GRACEWAY AT COUNTRYSIDE                               970: Kimberly Brouwers 1(800)905-1742 / 1(800)905-1742              10 DAYS SPLIT
                                                                                     751: Tom Frederick 1(800)968-6112



  Item               Qty                                                                                                 Invent.                           Extended
             Spec




                                                                                                                                                  Tax
                                                                                                                  Cat
                                Unit                             Item Description                                                  Unit Price
  Code               Ship                                                                                                 Value                              Price
 597082               1     CASE 1-5# PEPPERS RED P/L 597082                                                     PR        14.65        14.65                     14.65
  Totals:            41                Total Cooler Pieces


 119423               1     CASE 12-2.5# PEAS & PEARL ONIONS GCHC                                                FR         3.56        42.71                     42.71
 122963               1     CASE 6-10" PIE BLUEBERRY CP 9280                                                     FR         7.76        46.53                     46.53
 129671               1     CASE 4CT CAKE SHT RED VELVET 12X16 12967                                             FR        16.97        67.89                     67.89
 136920               1     CASE DOUGH CKY RD VLVT 264-1.5Z 136920                                               FR        77.06        77.06                     77.06
 175706               1     CASE 12-2# SLCD C/C CARROTS 9390175706                                               FR         2.13        25.60                     25.60
 233404               1     CASE 6-5# POTATO PUFFS TATER TOTS LAMB H30                                           FR         7.86        47.14                     47.14
 285630               1     CASE 1-30# CUT GREEN BEANS GCHC 01089506                                             FR        43.92        43.92                     43.92
 359720               1     CASE 48-4Z CUP ICECRM CHOC 1026512/1013988                                           FR         0.43        20.79                     20.79
 436820               1     CASE 6-2# BREAD WHEAT WHOLE 1/2" 12825                                               FR         4.12        24.72                     24.72
 462519               1     CASE 200-1Z EGG SCRMBD PTY RND 93901-46251                                           FR        35.25        35.25                     35.25
 519920               1     CASE 48-4 SHERBET CUP ORNG 1026626/1014054                                           FR         0.34        16.38                     16.38
 549614               1     CASE 4-4# SOUP CHIX GUMBO 160570                                                     FR        14.35        57.39                     57.39
 610902               1     CASE 6-4# BROCCOLI FLORETS P/L                                                       FR         6.96        41.78                     41.78
 660603               1     CASE 60-1.94Z WAFFLE BEL SGR IW Z041109057                                           FR         0.69        41.23                     41.23
 698520               1     CASE 216CT DOUGH BISCUIT 009390169852/36000                                          FR         0.18        37.87                     37.87
 710640               1     CASE 12-22Z BREAD WHT PULLMAN SLC GCHC 7015                                          FR         2.62        31.47                     31.47
 723310               1     CASE 50-6FLZ SHAKE HEALTH CHOC HHL 25938                                             FR         0.57        28.67                     28.67
 723350               1     CASE 50-6FLZ SHAKE HEALTH VAN HHL 12535                                              FR         0.56        28.08                     28.08
 751701               1     CASE 10-12CT ROLL DNNR HNY WHE WGRAIN 7304                                           FR         2.06        20.61                     20.61
 778110               1     CASE 120-1.5Z ROLL DINNER 4816270500                                                 FR         0.18        21.75                     21.75
 828310               1     CASE 10-12CT BUN ONION SLCD 4" 7698                                                  FR         2.80        28.01                     28.01
 230324               1     CASE 2-5# FRANKS 4/# ALL BEEF GCHC 230324                                            MT        14.76        29.51                     29.51
 426857               1     CASE 2-5# MEATBALL CKD 1Z ITAL 04-4268-57                                            MT        13.55        27.10                     27.10
 456411               1     CASE 2-5# GFS PURE PORK SAUS BULK 456411                                             MT        13.99        27.98                     27.98
 483162               1     CASE 1-12# SAUSAGE LNK CKD L/SOD 483162                                              MT        38.45        38.45                     38.45
 568732               1     CASE 12# SAUSAGE WHL HOG PTY 1.5Z 4225                                               MT        36.88        36.88                     36.88
 821853               1     CASE 4-5# ENTREE LASAGNA RSTD VEG 82185                                              MT        11.49        45.96                     45.96
 290572               1     CASE 1-10# CKD NAT PULLED CHIX 5177/15910                                            PO        32.20        32.20                     32.20
 467802               0     CASE 2-5# CHIX PULLD BLND 46021/25560-0928                                           PO         0.00          0.00              Temp Out
 599697               2     CASE 2-5# CHIX DCD 1/2" WHT 3174/13302                                               PO        20.07        40.14                     80.28
 818584               2     CASE 2-7.5# CHIX 8PC DNNR SUPER BRD 65015                                            PO        29.58        59.15                    118.30
 674940               1     CASE 2-1.25LTR COFFEE SIG BLND 2550062202                                            BV        65.03       130.06                    130.06
  Totals:            33                Total Freezer Pieces


 100991               1     CASE 216-1.2Z BAR SNAC N SQ LEMON IW 26020                                           GR         0.21        46.35                     46.35
 102946               1     CASE 6-10 CORNED BEEF HASH HEARTHSTO 690VS                                           GR        17.67       106.01                    106.01
                                                                                                                                         Page sub-total:        1,518.58




                    21-44887-lsg          Doc 108-5           Filed 10/07/21        Entered 10/07/21 15:19:24                      Page 7 of 20
                                        Gordon Food Service Inc                                                                              Page 3 of 4
                                        Shipped From Clay Distribution Ctr
                                        4900 Clay Avenue SW - Wyoming, MI 49548                                       Invoice               210156953
                                        Corporate Phone # 1-888--968-7500
                                        www.gfs.com
                                                                                                       Purchase Order

                                                                                                            Invoice Date                    05/19/2021

Route     Stop       Customer                                                      Representative                                                     Terms
 1131       079      100269618 GRACEWAY AT COUNTRYSIDE                             970: Kimberly Brouwers 1(800)905-1742 / 1(800)905-1742              10 DAYS SPLIT
                                                                                   751: Tom Frederick 1(800)968-6112



  Item               Qty                                                                                               Invent.                            Extended
             Spec




                                                                                                                                                Tax
                                                                                                                Cat
                                Unit                          Item Description                                                   Unit Price
  Code               Ship                                                                                               Value                               Price
 108626               1     CASE 1-25# SUGAR BROWN GFS 025BROWN                                                GR        20.77        20.77                     20.77
 118575               1     CASE 6-2.25# AUGRATIN POTATOES 118575C/20922                                       GR        10.26        61.54                     61.54
 118605               1     CASE 6-10 POTATO SWT CUT 40-55CT 796325                                            GR         7.23        43.38                     43.38
 166070               1     CASE 1-3M SUGAR PC PKTS 1/11Z 25560                                                GR         0.01        25.00                     25.00
 183245               1          JAR 6-5# PEANUT BUTTER SMOOTH GFS 183245                                      GR        13.19        13.19                     13.19
 222585               1     CASE 6-3.56# X-RICH POTAT PEARL 81837/222585                                       GR         9.91        59.47                     59.47
 234303               1          JUG 4-1GAL MOLASSES P/L SP5122                                                GR        22.22        22.22                     22.22
 238341               1     CASE 12-32Z SUPPLM BTR PECN MEDPASS 46463                                          GR         4.42        53.06                     53.06
 247001               1     CASE 6-10 SAUCE SPAGHETTI VINE RIPE KICMR99                                        GR         4.35        26.09                     26.09
 273153               1         PKG 200-6GM THICKENER NECT GEL STIND200L2                                      GR         0.29        57.17                     57.17
 275263               1          JAR 4-1GAL OLIVE GRN SLCD GRN GCHC 113523                                     GR        18.42        18.42                     18.42
 292702               2          JUG 6-1GAL OIL SALAD VEG SOY CLR 921067                                       GR        14.56        14.56                     29.12
 301248               1     CASE 200-3/8Z DIET JELLY ASST 5555                                                 GR         0.08        15.11                     15.11
 306304               1     CASE 100-2.1Z PANCAKE SYRUP CUPS S 02284                                           GR         0.17        17.43                     17.43
 348630               1         CAN 10-56Z OIL SESAME PURE ROLN 87162                                          GR        28.47        28.47                     28.47
 467251               1     CASE 12-42Z QUICK OATS HOT CEREAL QU 43285                                         GR         3.15        37.75                     37.75
 503162               1     CASE 200-10GM JELLY ASST #10 GFS 76315                                             GR         0.06        12.40                     12.40
 552658               1     CASE 3-16 NUTRIGRAIN BAR STRAWB 3800035945                                         GR         9.17        27.51                     27.51
 581742               1     CASE 72-4.5Z APPLSCE UNSWT FFASU1150GFS01                                          GR         0.36        26.00                     26.00
 590606               1     CASE 3-16 NUTRI-GRAIN BARS APPLE KEL 35645                                         GR         9.22        27.67                     27.67
 610283               1     CASE 6-10 GCHC APPLESAUCE IN JCE 610283                                            GR         6.28        37.67                     37.67
 610372               1     CASE 6-10 PEACH DCD IN JCE 05100/610372/PL                                         GR        10.35        62.08                     62.08
 666785               1     CASE 100-1FLZ DIET BRKFAST SYRUP PC 02277                                          GR         0.16        16.01                     16.01
 685442               1     CASE 8-14Z SAUCE MIX ALFREDO V114-D9193                                            GR         4.44        35.53                     35.53
 726044               1     CASE 4-1GAL DRESSING ITAL CLSC 13453/11868                                         GR        11.33        45.31                     45.31
 834860               1     CASE 6-36Z RICE GRDN BLND GCHC R651-D5193                                          GR         8.10        48.58                     48.58
 433534               1     CASE 6-66.5Z TUNA LIGHT CHUNK SKIPJA 16500                                         SF        12.21        73.23                     73.23
 169331               1     CASE 10-100 VENT LID/FM CONTNRS,BOWLS 20JL                                         DS         2.75        27.46           1         27.46
 169897               0     CASE 10-100 X-SLOT LID12-24Z GF16SL/16SL                                           DS         0.00          0.00              Temp Out
 187191               1     CASE 1M LID FLAT 9Z BOWL DX53008714                                                DS        57.13        57.13           1         57.13
 240117               1     CASE 10-100CT LINER CAN BLK 7GAL 965307                                            DS         4.59        45.86           1         45.86
 241571               1     CASE 40-25CT CUP FM 16Z DART 16J16                                                 DS         1.29        51.61           1         51.61
 285005               1     CASE 100-14X18" LAM FM TRAY TK1-0136/BTK101360000                                  DS         1.32       131.98           1        131.98
 484964               1     CASE 10-100CT GLOVE VNYL MED PWDFR 319101                                          DS        10.98       109.75           1        109.75
 551252               1     CASE 6-100CT CUP PLAS 10Z CLR COMT BP106C                                          DS        12.55        75.32           1         75.32
 831650               1     CASE 2-75CT CONT YTD199G30002/YTD199030000                                         DS        11.17        22.34           1         22.34
 666823               1         PAIL 1-5GAL SANITIZER E.S. ARRAY 060071                                        CP        63.26        63.26           1         63.26
 179232               1     CASE 1M CREAMER NDAR DRY PKT 11725/45200                                           BV         0.02        20.37                     20.37
                                                                                                                                       Page sub-total:        1,545.26




                    21-44887-lsg         Doc 108-5        Filed 10/07/21          Entered 10/07/21 15:19:24                      Page 8 of 20
                                                Gordon Food Service Inc                                                                                                        Page 4 of 4
                                                Shipped From Clay Distribution Ctr
                                                4900 Clay Avenue SW - Wyoming, MI 49548                                                                   Invoice             210156953
                                                Corporate Phone # 1-888--968-7500
                                                www.gfs.com
                                                                                                                                           Purchase Order

                                                                                                                                                  Invoice Date                05/19/2021

Route        Stop         Customer                                                                               Representative                                                               Terms
  1131          079       100269618 GRACEWAY AT COUNTRYSIDE                                                      970: Kimberly Brouwers 1(800)905-1742 / 1(800)905-1742                        10 DAYS SPLIT
                                                                                                                 751: Tom Frederick 1(800)968-6112



   Item                   Qty                                                                                                                              Invent.                                Extended
                 Spec




                                                                                                                                                                                        Tax
                                                                                                                                                    Cat
                                     Unit                                          Item Description                                                                  Unit Price
   Code                   Ship                                                                                                                              Value                                   Price
  442909                   1         BOX 10-100CT TEA BAG W/TAG GCHC 117176                                                                        BV         5.51          5.51                          5.51
  601454                   1     CASE 6-50CT GCHC HOT COCOA MIX PKTS 50297                                                                         BV         8.81         52.84                        52.84
  683566                   1         BOX 1-3GAL JUICE BIB CRAN CKTL HV H683566                                                                     BV        89.04         89.04                        89.04
  201006                   2     CASE 1-10# BANANAS TURNING P/L                                                                                    PR        11.47         11.47                        22.94
  548991                   2     EACH 1CT PEELER VEG SFT GRIP WINCO VP-303                                                                          TT        3.49          3.49              1           6.98
   Totals:                47                  Total Grocery Pieces

                                                                                                                                                                            Page sub-total:            177.31




                                                                                                                                     Group Summary
                                                                               Cases                  Group                                                    Amount          Tax                   Total
                                                                                  31        Grocery - GR                                                       1,076.35        0.00               1,076.35
                                                                                  21        Frozen - FR                                                          784.85        0.00                 784.85
                                                                                   9        Meat - MT                                                            501.45        0.00                 501.45
                                                                                   1        Seafood - SF                                                          73.23        0.00                  73.23
                                                                                   5        Poultry - PO                                                         230.78        0.00                 230.78
                                                                                  22        Dairy - DY                                                           487.45        0.00                 487.45
                                                                                   8        Disposables - DS                                                     521.45       31.30                 552.75
                                                                                   1        Sanitation - CP                                                       63.26        3.80                  67.06
                                                                                   7        Beverage - BV                                                        499.48        0.00                 499.48
                                                                                  14        Produce - PR                                                         282.59        0.00                 282.59
                                                                                   2        Tabletop - TT                                                          6.98        0.42                   7.40
                                                                                 121        Total Case Count
Customer's signature evidences receipt of all items listed and its promise to pay the amount due to GFS. Customer agrees that if a check, draft
or any other order of payment (each, a "Transaction") issued for payment of this invoice is dishonored, GFS may re-present the Transaction                                 SubTotal               $4,527.87
and issue a draft against the account upon which the Transaction is drawn for a fee up to the maximum permitted by law. All unpaid invoices
are subject to a time price differential of 1 1/2% per month on the unpaid balance after the due date. ~ The perishable agricultural                             (1) MI State Tax - 6                 $35.52
commodities shown on this invoice are sold subject to the statutory trust authorized by section 5(c) of the Perishable Agricultural Commodities
Act, 1930 (7 U.S.C. 499e(c)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other                         Fuel Surcharge                    $5.00
products derived from these commodities and any receivable or proceeds from the sale of these commodities until full payment is received. ~
NSSP Certification #MI-020-RS ~ NSSP Certification #MI-017-RS                                                                                                          Invoice Total              $4,568.39


                                                                                    GFS DRIVER
  Received By                                                                       Print Name



FOLD AND TEAR ALONG                                                                                                                                                                           FOLD AND TEAR ALONG
PERFORATION THEN RETURN
BOTTOM PORTION
                                                                              Thank you for your order.                                                                                   PERFORATION THEN RETURN
                                                                                                                                                                                                  BOTTOM PORTION

                                                                        Please enclose this stub with payment.

                                                                                                                          Customer Number                                100269618
          Remit To      Gordon Food Service, Inc.                                                                                             Invoice                    210156953
                        P.O. BOX 88029                                                                                       Purchase Order
                        Chicago, IL 60680-1029
                                                                                                                                     Invoice Date                        05/19/2021
                                                                                                                                 Due Date                                05/25/2021
                                                                                                                          Pay This Amount                                 $4,568.39
                        21-44887-lsg               Doc 108-5                 Filed 10/07/21 Entered 10/07/21 15:19:24 Page 9 of 20
                                                                                         100269618310210156953000456839000045683907
                                                Gordon Food Service Inc                                                                                                        Page 1 of 2
                                                Shipped From Clay Distribution Ctr
                                                4900 Clay Avenue SW - Wyoming, MI 49548                                                                   Invoice             210261430
                                                Corporate Phone # 1-888--968-7500
                                                www.gfs.com
                                                                                                                                           Purchase Order                  Housekeeping

                                                                                                                                                  Invoice Date                05/24/2021

Route       Stop        Customer                                                                                 Representative                                                               Terms
 1131         083       100269618 GRACEWAY AT COUNTRYSIDE                                                        970: Joshua Montez                                                            10 DAYS SPLIT
                                                                                                                 751: Tom Frederick 1(800)968-6112



        Ship To GRACEWAY AT COUNTRYSIDE                                                                          Bill To GRACEWAY SOUTH HAVEN, LLC.
                120 BASELINE RD                                                                                          120 BASELINE ROAD
                SOUTH HAVEN MI 49090-1037                                                                                LANSING MI 48909




  Item                 Qty                                                                                                                                 Invent.                                Extended
               Spec




                                                                                                                                                                                        Tax
                                                                                                                                                    Cat
                                   Unit                                            Item Description                                                                   Unit Price
  Code                 Ship                                                                                                                                 Value                                   Price
 169641                  1       CASE 6-ROLL TOWEL NAT 800' 169641GF/RK8002                                                                        DS         6.43         38.57              1          38.57
 321982                  2       CASE 10-25CT LINER CAN CLR 45GAL 965261                                                                           DS         6.08         60.84              1         121.68
 579491                  2       CASE 20-50CT LINER CAN CLR 7-10GAL 965213                                                                         DS         1.63         32.55              1          65.10
 162282                  1       CASE 2-1GAL DETRGNT LNDRY PREM 100867460                                                                          CP       109.04        218.08              1         218.08
 162312                  1       CASE 2-1GAL SOFTENER LNDRY PREM 100867472                                                                         CP        80.58        161.15              1         161.15
 260967                  1         PAIL 1-5GAL LAUNDRY DESTAIN 4283010/060019                                                                      CP        89.57         89.57              1          89.57
 703559                  2       CASE 6-32FLZ TB-QUAT DISINF 964276/4360231                                                                        CP        11.23         67.38              1         134.76
  Totals:               10                    Total Grocery Pieces

                                                                                                                                                                            Page sub-total:             828.91




                                                                                                                                     Group Summary
                                                                               Cases          Group                                                            Amount          Tax                     Total
                                                                                   5 Disposables - DS                                                           225.35        13.52                   238.87
                                                                                   5 Sanitation - CP                                                            603.56        36.21                   639.77
                                                                                  10 Total Case Count
Customer's signature evidences receipt of all items listed and its promise to pay the amount due to GFS. Customer agrees that if a check, draft
or any other order of payment (each, a "Transaction") issued for payment of this invoice is dishonored, GFS may re-present the Transaction                                 SubTotal                   $828.91
and issue a draft against the account upon which the Transaction is drawn for a fee up to the maximum permitted by law. All unpaid invoices
are subject to a time price differential of 1 1/2% per month on the unpaid balance after the due date. ~ The perishable agricultural                             (1) MI State Tax - 6                  $49.73
commodities shown on this invoice are sold subject to the statutory trust authorized by section 5(c) of the Perishable Agricultural Commodities
Act, 1930 (7 U.S.C. 499e(c)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other                          Fuel Surcharge                    $5.00
products derived from these commodities and any receivable or proceeds from the sale of these commodities until full payment is received. ~
NSSP Certification #MI-020-RS ~ NSSP Certification #MI-017-RS                                                                                                           Invoice Total                 $883.64


                                                                                    GFS DRIVER
 Received By                                                                        Print Name




                      21-44887-lsg                Doc 108-5                 Filed 10/07/21                   Entered 10/07/21 15:19:24                               Page 10 of 20
                                       Gordon Food Service Inc                                                                 Page 2 of 2
                                       Shipped From Clay Distribution Ctr
                                       4900 Clay Avenue SW - Wyoming, MI 49548                                  Invoice       210261430
                                       Corporate Phone # 1-888--968-7500
                                       www.gfs.com
                                                                                                    Purchase Order          Housekeeping

                                                                                                          Invoice Date        05/24/2021

Route        Stop         Customer                                               Representative                                     Terms
  1131          083       100269618 GRACEWAY AT COUNTRYSIDE                      970: Joshua Montez                                   10 DAYS SPLIT
                                                                                 751: Tom Frederick 1(800)968-6112




FOLD AND TEAR ALONG                                                                                                                    FOLD AND TEAR ALONG
PERFORATION THEN RETURN
BOTTOM PORTION
                                                            Thank you for your order.                                              PERFORATION THEN RETURN
                                                                                                                                           BOTTOM PORTION

                                                      Please enclose this stub with payment.

                                                                                         Customer Number                   100269618
          Remit To   Gordon Food Service, Inc.                                                         Invoice             210261430
                     P.O. BOX 88029                                                         Purchase Order                Housekeeping
                     Chicago, IL 60680-1029
                                                                                                  Invoice Date             05/24/2021
                                                                                                Due Date                   06/05/2021
                                                                                         Pay This Amount                    $883.64
                     21-44887-lsg       Doc 108-5        Filed 10/07/21 Entered 10/07/21 15:19:24 Page 11 of 20
                                                                      100269618310210261430000088364500008836454
                                           Gordon Food Service Inc                                                                             Page 1 of 6
                                           Shipped From Clay Distribution Ctr
                                           4900 Clay Avenue SW - Wyoming, MI 49548                                       Invoice              210320194
                                           Corporate Phone # 1-888--968-7500
                                           www.gfs.com
                                                                                                          Purchase Order

                                                                                                                Invoice Date                  05/26/2021

Route     Stop        Customer                                                         Representative                                                      Terms
 1131       077       100269618 GRACEWAY AT COUNTRYSIDE                                970: Joshua Montez 1(800)905-1742 / 1(800)905-1742                   10 DAYS SPLIT
                                                                                       751: Tom Frederick 1(800)968-6112



        Ship To GRACEWAY AT COUNTRYSIDE                                                Bill To GRACEWAY SOUTH HAVEN, LLC.
                120 BASELINE RD                                                                120 BASELINE ROAD
                SOUTH HAVEN MI 49090-1037                                                      LANSING MI 48909




  Item               Qty                                                                                                  Invent.                             Extended
             Spec




                                                                                                                                                     Tax
                                                                                                                   Cat
                                 Unit                              Item Description                                                  Unit Price
  Code               Ship                                                                                                  Value                                Price
 167000               1      CASE 48-4Z PUDDING VAN LT 00049000073491                                             GR         0.51           24.27                    24.27
 599111               1      CASE 48-3.5Z GELATIN CUP ASST FLVR 17009                                             GR         0.50           24.11                    24.11
 733061               1      CASE 30-1# MARGARINE SLD GCHC 21642GFS                                               GR         1.09           32.77                    32.77
 772331               1      CASE 900-5GM MARGARINE CUP SPRD 22119GFS                                             GR         0.02           22.41                    22.41
 212067               1      CASE 5-2# SLCD CANADIAN BACON 64CT/ 37015                                             MT       10.60           52.99                    52.99
 222577               1      CASE 2PC HAM SMKD FLT W/A 90093901222575 27.28 LB                                     MT                        2.63                    71.75
                                        Item 222577 = 27.28 LB / $71.75
 331201               1      CASE 2-14.5# PORK RST 103583734/7312010 31.2 LB                                       MT                        3.37                   105.14
                                        Item 331201 = 31.2 LB / $105.14
 718000               1      CASE 2-14#AVG BEEF RST CKD 103586416/50312 22.15 LB                                   MT                        5.85                   129.58
                                        Item 718000 = 22.15 LB / $129.58
 502012               1      CASE 2-10# TURKEY BRST CKD LO SOD 75094 20.1 LB                                       PO                        3.36                    67.54
                                        Item 502012 = 20.1 LB / $67.54
 163562               2          LOAF 10-3# CHEESE CREAM LOAF GCHC 30184                                           DY        7.75            7.75                    15.50
 164348               2          LOAF 4-5# CHEESE SWS 160CT 100431                                                 DY       21.96           21.96                    43.92
 191043               1      CASE 4-5# CHEESE CHED MLD SHRD FINE 26833                                             DY       13.41           53.64                    53.64
 265454               1      CASE 6-30CT EGG SHL 46025-41420/63514-4142                                            DY        9.93           59.57                    59.57
 285218               2           TUB 4-5# SOUR CREAM                                                              DY       10.01           10.01                    20.02
 329487               1      CASE 4-5# CHEESE COTTAGE SML 1%                                                       DY        7.42           29.69                    29.69
 421812               1          BAG 4-5# CHEESE MOZZ 2% SHRD FTHR 27915                                           DY       16.53           16.53                    16.53
 428801               1      CASE 12-1QT HEAVY WHIP CRM 40% P/L 8881725                                            DY        4.66           55.88                    55.88
 445401               1          BAG 4-5# CHEESE PARM GRTD PG 445401                                               DY       34.07           34.07                    34.07
 469947               1      CASE 4-5# CHEESE MONTRY JK SHRD FTHR 26821                                            DY       13.05           52.19                    52.19
 504602               6      CASE 4-1GAL MILK WHT 2% P/L                                                           DY        4.06           16.25                    97.50
 512109               5      CASE 4-1GAL MILK WHT WHL RGNLBRND P/L                                                 DY        4.31           17.25                    86.25
 557540               1          PAIL 10# EGG HARD CKD PLD 9612094063                                              DY       23.00           23.00                    23.00
 719211               0      CASE 24-5.3Z YOGURT VAR PK N/F 1330                                                   DY        0.00            0.00              Temp Out
 719371               1      CASE 12-5.3Z YOGURT BLUEB N/F 1307                                                    DY        0.85           10.19                    10.19
 719391               1      CASE 12-5.3Z YOGURT CHRY VAN 1312                                                     DY        0.85           10.19                    10.19
 170895               1      CASE 1-6CT STALK CELERY 24 SZ 91678                                                   PR        4.81           28.84                    28.84
 197904               1      CASE 5-6CT/AVG MELON HNYDEW P/L                                                       PR       29.87           29.87                    29.87
                                                                                                                                            Page sub-total:        1,197.41




                    21-44887-lsg            Doc 108-5         Filed 10/07/21          Entered 10/07/21 15:19:24                     Page 12 of 20
                                         Gordon Food Service Inc                                                                             Page 2 of 6
                                         Shipped From Clay Distribution Ctr
                                         4900 Clay Avenue SW - Wyoming, MI 49548                                       Invoice              210320194
                                         Corporate Phone # 1-888--968-7500
                                         www.gfs.com
                                                                                                        Purchase Order

                                                                                                              Invoice Date                  05/26/2021

Route     Stop        Customer                                                       Representative                                                      Terms
 1131       077       100269618 GRACEWAY AT COUNTRYSIDE                              970: Joshua Montez 1(800)905-1742 / 1(800)905-1742                   10 DAYS SPLIT
                                                                                     751: Tom Frederick 1(800)968-6112



  Item               Qty                                                                                                Invent.                             Extended
             Spec




                                                                                                                                                   Tax
                                                                                                                 Cat
                                 Unit                            Item Description                                                  Unit Price
  Code               Ship                                                                                                Value                                Price
 199001               1      CASE 10# TOMATO 6X6 LRG GFS 410                                                     PR       16.43           16.43                    16.43
 307769               1      CASE 4-6CT FOOD SERVICE LETTUCE 91980                                               PR       10.96           43.84                    43.84
 326089               1      CASE 1-2CT WATERMELON RED SDLSS P/L                                                 PR       12.71           25.42                    25.42
 418439               1      CASE 1-24CT CUCUMBER (24-36CT) 107300/16                                            PR        1.05           25.31                    25.31
 592293               1      CASE 1-10# CARROT MED/JUMBO P/L                                                     PR       10.43           10.43                    10.43
 592315               1      CASE 1-5# PEPPERS GREEN LRG MRKN                                                    PR       13.08           13.08                    13.08
 596914               2      CASE 1-5# GRAPE RED SDLSS MRKN 91805                                                PR       22.99           22.99                    45.98
 597066               1      CASE 1-20CT APPLE DELICIOUS RED 710                                                 PR        0.71           14.18                    14.18
 597082               1      CASE 1-5# PEPPERS RED P/L 597082                                                    PR       15.23           15.23                    15.23
  Totals:             48                Total Cooler Pieces


 434690               2      CASE 96-2.75Z SHELLS CHS STUFD JUMBO 1300                                          GR         0.64           61.32                   122.64
 101524               1      CASE 12-2# PRINCE CHARLE VEG BLND 50151506                                          FR        2.87           34.48                    34.48
 132790               1      CASE 6-10" PIE KEY LIME MERINGUE 5145                                               FR        7.60           45.60                    45.60
 173481               1      CASE 153-1.3Z EGG WHT PTY PUFD 46025-86526                                          FR       35.77           35.77                    35.77
 175706               1      CASE 12-2# SLCD C/C CARROTS 9390175706                                              FR        2.13           25.60                    25.60
 216083               1           TUB 1-3GAL ICE CRM CRML PRTZL 55775/48659                                      FR       28.43           28.43                    28.43
 233404               1      CASE 6-5# POTATO PUFFS TATER TOTS LAMB H30                                          FR        7.86           47.14                    47.14
 273902               1      CASE 12-2# WHOLE CARROTS 009390127390                                               FR        3.66           43.91                    43.91
 283771               1      CASE 1-30# MIXED VEGETABLES KE 023581154                                            FR       32.85           32.85                    32.85
 285630               1      CASE 1-30# CUT GREEN BEANS GCHC 01089506                                            FR       43.92           43.92                    43.92
 285660               1      CASE 1-30# GREEN PEAS IQF GCHC                                                      FR       37.53           37.53                    37.53
 316334               1      CASE 6-3# HASHBROWN SHRED G0100                                                     FR        4.28           25.68                    25.68
 426288               1      CASE 12-2# SPROUT BRUSSEL MED GCHC                                                  FR        2.98           35.78                    35.78
 436820               3      CASE 6-2# BREAD WHEAT WHOLE 1/2" 12825                                              FR        4.12           24.72                    74.16
 462519               0      CASE 200-1Z EGG SCRMBD PTY RND 93901-46251                                          FR        0.00            0.00              Temp Out
 491209               1      CASE 12-2# FAR EAST VEG BLEND GCHC                                                  FR        3.79           45.44                    45.44
 501290               1      CASE 6-6CT BUN SUB WHE SLCD 12" 31867/5001                                          FR        4.13           24.75                    24.75
 516112               1      CASE 6-5# FRIES RC 3/8" SEASONED LAMB B91                                           FR        7.57           45.42                    45.42
 610902               1      CASE 6-4# BROCCOLI FLORETS P/L                                                      FR        6.96           41.78                    41.78
 698520               1      CASE 216CT DOUGH BISCUIT 009390169852/36000                                         FR        0.18           37.87                    37.87
 710640               3      CASE 12-22Z BREAD WHT PULLMAN SLC GCHC 7015                                         FR        2.62           31.47                    94.41
 723350               1      CASE 50-6FLZ SHAKE HEALTH VAN HHL 12535                                             FR        0.56           28.08                    28.08
 763225               1      CASE 12-12 BUNS HOT DOG 5.75" GCHC 3170                                             FR        2.42           28.99                    28.99
 763233               1      CASE 10-12 BUNS HAMB 4" SLICED GCHC 3144                                            FR        2.50           25.01                    25.01
 778110               1      CASE 120-1.5Z ROLL DINNER 4816270500                                                FR        0.18           21.75                    21.75
 851329               1      CASE 6-4# SUPER SWEET CUT CORN GCHC                                                 FR        4.91           29.48                    29.48
 859000               1          PAIL 3GAL ICE CRM VAN BRY SWRL 65873                                            FR       35.05           35.05                    35.05
 158704               2      CASE 3-10# BEEF GRND 80/20 7700420                                                  MT       30.23           90.68                   181.36
                                                                                                                                          Page sub-total:        1,482.78



                    21-44887-lsg          Doc 108-5           Filed 10/07/21        Entered 10/07/21 15:19:24                     Page 13 of 20
                                           Gordon Food Service Inc                                                                             Page 3 of 6
                                           Shipped From Clay Distribution Ctr
                                           4900 Clay Avenue SW - Wyoming, MI 49548                                       Invoice              210320194
                                           Corporate Phone # 1-888--968-7500
                                           www.gfs.com
                                                                                                          Purchase Order

                                                                                                                Invoice Date                  05/26/2021

Route     Stop        Customer                                                         Representative                                                      Terms
 1131       077       100269618 GRACEWAY AT COUNTRYSIDE                                970: Joshua Montez 1(800)905-1742 / 1(800)905-1742                   10 DAYS SPLIT
                                                                                       751: Tom Frederick 1(800)968-6112



  Item               Qty                                                                                                  Invent.                             Extended
             Spec




                                                                                                                                                     Tax
                                                                                                                   Cat
                                 Unit                              Item Description                                                  Unit Price
  Code               Ship                                                                                                  Value                                Price
 184284               1      CASE 6-12CT EGG ROLL VEG 3Z MINH 69039                                                MT        7.56           45.34                    45.34
 200174               1      CASE 2-5# FRANKS BEEF 5/# GCHC 200174                                                 MT       14.87           29.74                    29.74
 247685               1      CASE 1-15# BACON L/O 18-22CT 84352/484352                                             MT       73.29           73.29                    73.29
 456411               1      CASE 2-5# GFS PURE PORK SAUS BULK 456411                                              MT       13.65           27.30                    27.30
 483162               2      CASE 1-12# SAUSAGE LNK CKD L/SOD 483162                                               MT       37.64           37.64                    75.28
 497610               0      CASE 60-5Z BURRITO BF CHILI/CHS/BN WG 5210                                            MT        0.00            0.00              Temp Out
 568732               1      CASE 12# SAUSAGE WHL HOG PTY 1.5Z 4225                                                MT       35.61           35.61                    35.61
 637251               2      CASE 70-3Z PIGS IN BLNKET BULKPIGS                                                    MT       41.94           41.94                    83.88
 757128               1      CASE 2-5# DICED PORK PREM HAND 36-99209                                               MT       17.78           35.55                    35.55
 837220               1      CASE 72-4Z BURRITO BF/BEAN/GRN CHILIS 5103                                            MT       41.08           41.08                    41.08
 850203               1      CASE 10# COD BATRD BEER 4Z GCHC 10002676                                              SF       58.53           58.53                    58.53
 854343               1      CASE 4-2.5# SHRIMP BATRD BEER 31-35 1837                                              SF       18.05           72.20                    72.20
 181773               1      CASE 36-4Z GFS BRD CHIX CORDON BLEU 181773                                            PO        1.27           45.58                    45.58
 268127               1      CASE 48-4Z CHIX BRST BNLS 910701/268127                                               PO        1.27           60.80                    60.80
 313262               1      CASE 2-5# CHIX DCD 1/2" CKD 5178/15302                                                PO       16.10           32.20                    32.20
 581802               1      CASE 2-9.5#AVG TURKEY BRST 40911/960706 22.58 LB                                      PO                        2.91                    65.71
                                        Item 581802 = 22.58 LB / $65.71
 677900               1      CASE 1-15# CHIX 8CUT BRD FRD CKD 80946                                                PO       58.30           58.30                    58.30
  Totals:             51                 Total Freezer Pieces


 100129               1      CASE 6-10 KETCHUP 33% FANC CRWNCOL CRWY599                                           GR         4.70           28.19                    28.19
 101125               1      CASE 12-5 SOUP CRM OF CHIX CAMP 01036                                                GR         3.99           47.85                    47.85
 101346               1      CASE 12-5 SOUP CRM OF MUSHROOM CAMPB 01266                                           GR         3.95           47.44                    47.44
 101427               1      CASE 12-5 SOUP TOMATO CAMPBELL'S 00016                                               GR         3.01           36.13                    36.13
 106666               1      CASE 12-24Z PUDDING MIX VAN 53102                                                    GR         3.88           46.57                    46.57
 109950               1      CASE 500-9GM KETCHUP PACKETS 78000100                                                GR         0.04           21.96                    21.96
 110744               1      EACH 1-1GAL IMITATION VANILL 921007/11074                                            GR         9.75            9.75                     9.75
 118605               1      CASE 6-10 POTATO SWT CUT 40-55CT 796325                                              GR         7.23           43.38                    43.38
 118826               1      CASE 6-10 BEAN PORK & NAVY 118826                                                    GR         5.12           30.69                    30.69
 183245               2           JAR 6-5# PEANUT BUTTER SMOOTH GFS 183245                                        GR        13.19           13.19                    26.38
 200204               1      CASE 12-28Z CEREAL CRM OF WHE 01379-0                                                GR         3.85           46.14                    46.14
 222585               1      CASE 6-3.56# X-RICH POTAT PEARL 81837/222585                                         GR         9.91           59.47                    59.47
 238341               1      CASE 12-32Z SUPPLM BTR PECN MEDPASS 46463                                            GR         4.42           53.06                    53.06
 247001               1      CASE 6-10 SAUCE SPAGHETTI VINE RIPE KICMR99                                          GR         4.35           26.09                    26.09
 254959               1      CASE 200-3.5GM CHEESE PARM 58806                                                     GR         0.15           30.52                    30.52
 255661               1      CASE 6-5# CAKE MIX CHOC GCHC 61107/25566                                             GR        11.65           69.92                    69.92
 261823               1      CASE 1-25# RICE PARBOILED ENRICHED C 07651                                           GR        24.38           24.38                    24.38
 266604               1      CASE 6-5# GCHC ORIG PANCAKE MIX 61153/26660                                          GR         4.98           29.87                    29.87
 271101      P        1      CASE 6-10 BLUEBERRY PIE FILLING GCHC 260402                                          GR        12.51           75.03                    75.03
                                                                                                                                            Page sub-total:        1,593.21



                    21-44887-lsg            Doc 108-5           Filed 10/07/21        Entered 10/07/21 15:19:24                     Page 14 of 20
                                           Gordon Food Service Inc                                                                             Page 4 of 6
                                           Shipped From Clay Distribution Ctr
                                           4900 Clay Avenue SW - Wyoming, MI 49548                                       Invoice              210320194
                                           Corporate Phone # 1-888--968-7500
                                           www.gfs.com
                                                                                                          Purchase Order

                                                                                                                Invoice Date                  05/26/2021

Route     Stop        Customer                                                         Representative                                                      Terms
 1131       077       100269618 GRACEWAY AT COUNTRYSIDE                                970: Joshua Montez 1(800)905-1742 / 1(800)905-1742                   10 DAYS SPLIT
                                                                                       751: Tom Frederick 1(800)968-6112



  Item               Qty                                                                                                  Invent.                              Extended
             Spec




                                                                                                                                                     Tax
                                                                                                                   Cat
                                 Unit                              Item Description                                                  Unit Price
  Code               Ship                                                                                                  Value                                 Price
                                        The above line item includes a promotional discount of $0.50
                                        ($0.50/case)
 272086               0      CASE 500-9GM GFS KETCHUP PC PKTS 76095                                               GR         0.00            0.00              Temp Out
 272350               1      CASE 6-5# HEATH ENG TOFFEE MD GRIND 60575                                            GR        24.03        144.15                     144.15
 273153               2          PKG 200-6GM THICKENER NECT GEL STIND200L2                                        GR         0.29           57.17                   114.34
 301248               1      CASE 200-3/8Z DIET JELLY ASST 5555                                                   GR         0.08           15.11                    15.11
 306304               1      CASE 100-2.1Z PANCAKE SYRUP CUPS S 02284                                             GR         0.17           17.43                    17.43
 331473               1      EACH 1-16Z CHILI POWDER MILD TRADE 33147                                             GR         8.71            8.71                     8.71
 413340               1      CASE 4-5# ROTINI RAINBOW GCHC 9390173126                                             GR         6.20           24.81                    24.81
 438150               1      CASE 6-10 CHILI W/O BEAN 390VG-GOR                                                   GR        13.42           80.49                    80.49
 467251               1      CASE 12-42Z QUICK OATS HOT CEREAL QU 43285                                           GR         3.15           37.75                    37.75
 467596               1      CASE 4-1GAL MAYONNAISE H/D GCHC 21748GFS                                             GR        11.39           45.54                    45.54
 503162               1      CASE 200-10GM JELLY ASST #10 GFS 76315                                               GR         0.06           12.40                    12.40
 518921               1      CASE 6-5# HONEY CORNBREAD MIX GEN 11455000                                           GR        10.32           61.92                    61.92
 581742               1      CASE 72-4.5Z APPLSCE UNSWT FFASU1150GFS01                                            GR         0.36           26.00                    26.00
 584088               1      CASE 6-5# WHITE CAKE MIX GOLD 11132000                                               GR        12.64           75.84                    75.84
 610224               1      CASE 6-10 APRICOT HLVS UNPLD IN JCE 610224                                           GR        11.35           68.12                    68.12
 610267               1      CASE 6-10 PEACH SLCD IN JCE F009390161026                                            GR        11.02           66.12                    66.12
 610275               1      CASE 6-10 GCHC PEAR HLVS IN JUICE 32530                                              GR        10.29           61.72                    61.72
 610283               1      CASE 6-10 GCHC APPLESAUCE IN JCE 610283                                              GR         6.28           37.67                    37.67
 610364               1      CASE 6-10 PEAR DCD IN JCE F009390161036                                              GR        10.38           62.26                    62.26
 612448               1      CASE 6-10 MANDARIN ORANGES BMANP/JL 112004                                           GR         9.53           57.16                    57.16
 612456               1      CASE 6-10 GCHC SLCD PINEAPPLE IN JCE & WTR                                           GR         7.17           43.01                    43.01
 666785               1      CASE 100-1FLZ DIET BRKFAST SYRUP PC 02277                                            GR         0.16           16.01                    16.01
 700051               1      CASE 500-5.5GM MUSTARD PKT GCHC 76176                                                GR         0.02           11.58                    11.58
 704482               1      CASE 4-43Z CEREAL BRAN FLKS KELL 691                                                 GR        12.05           48.21                    48.21
 705489               1      CASE 4-35Z TOASTED OATS CEREAL HOSPI 76244                                           GR         4.67           18.69                    18.69
 803730               1      CASE 4-8# LEMON BAR MIX KRUST 732-0870                                               GR        19.76           79.04                    79.04
 814640               1      CASE 2-30CT CHIP VAR PACK 52347/104089-01                                            GR        15.62           31.23                    31.23
 824901               1      CASE 60-1.5FLZ DRESSING 1000 ISL PKT 12539                                           GR         0.25           15.04                    15.04
 825020               1      CASE 60-1.5FLZ DRESSING FREN RYL RD 12541                                            GR         0.24           14.57                    14.57
 832181               1      CASE 60-1.5FLZ DRESSING BTRMLK RNCH 12575                                            GR         0.25           15.04                    15.04
 865702               1      CASE 12-32Z SUPPLM VAN MEDPASS 27016                                                 GR         4.42           53.06                    53.06
 870400               1      CASE 500-2CT CRACKER SALT 9390187040/53908                                           GR         0.04           18.28                    18.28
 169897               1      CASE 10-100 X-SLOT LID12-24Z GF16SL/16SL                                              DS        2.24           22.38          1         22.38
 212857               1      CASE 16-250 TOWEL MULTIFOLD 212857GF/MK520                                            DS        1.84           29.48          1         29.48
 241571               1      CASE 40-25CT CUP FM 16Z DART 16J16                                                    DS        1.29           51.61          1         51.61
 241939               1      CASE 28-100 NAPKIN DNNR 2PLY WHT NP528P                                               DS        1.91           53.40          1         53.40
 329983               1      CASE 1M SPOON PLAS MWT WHT FLX YFWSWGFSKE2                                            DS        0.02           20.50          1         20.50
                                                                                                                                            Page sub-total:        1,558.67




                    21-44887-lsg            Doc 108-5         Filed 10/07/21          Entered 10/07/21 15:19:24                     Page 15 of 20
                                                Gordon Food Service Inc                                                                                                        Page 5 of 6
                                                Shipped From Clay Distribution Ctr
                                                4900 Clay Avenue SW - Wyoming, MI 49548                                                                   Invoice             210320194
                                                Corporate Phone # 1-888--968-7500
                                                www.gfs.com
                                                                                                                                           Purchase Order

                                                                                                                                                  Invoice Date                05/26/2021

Route       Stop        Customer                                                                                 Representative                                                               Terms
 1131         077       100269618 GRACEWAY AT COUNTRYSIDE                                                        970: Joshua Montez 1(800)905-1742 / 1(800)905-1742                            10 DAYS SPLIT
                                                                                                                 751: Tom Frederick 1(800)968-6112



  Item                 Qty                                                                                                                                 Invent.                                Extended
               Spec




                                                                                                                                                                                        Tax
                                                                                                                                                    Cat
                                   Unit                                            Item Description                                                                   Unit Price
  Code                 Ship                                                                                                                                 Value                                   Price
 329991                  1        CASE 1M FORK PLAS MED WHT FLX YFWFWGFSKE2                                                                         DS        0.02         20.63              1         20.63
 485472                  1        CASE 10-100CT GLOVE LTX MED PWDFR 319301                                                                          DS       15.53        155.30              1        155.30
 485608                  1          BOX 144-GFS HAIRNETS BLK HN5BKGFS                                                                               DS       24.39         24.39              1         24.39
 494453                  1        CASE 10-25CT LINER CAN BLK 33GAL 965252                                                                           DS        5.80         57.97              1         57.97
 498297                  1        CASE 1-M QUILON LINER PAN 16.5X2 162-1                                                                            DS        0.05         52.03              1         52.03
 629362                  1        CASE 2-1M BAG SAND FLD OVER GCHC 317006                                                                           DS       11.83         23.66              1         23.66
 708471                  1        EACH 4-250CT LABEL DISSOLVAB DPBX125R-4MC                                                                         DS        7.38         29.53              1         29.53
 831650                  1        CASE 2-75CT CONT YTD199G30002/YTD199030000                                                                        DS       11.17         22.34              1         22.34
 666823                  1          PAIL 1-5GAL SANITIZER E.S. ARRAY 060071                                                                         CP       63.26         63.26              1         63.26
 666858                  1          PAIL 1-5GAL DSHMC DET ESCR 4281567/060039                                                                       CP      130.13        130.13              1        130.13
 311227                  1           BTL 12-32FLZ LEM JUICE 9390131122/09370                                                                        BV        3.07          3.07                         3.07
 418921                  1        CASE 96-2Z COFFEE CLSC RST DECAF 579108                                                                           BV        0.78         74.55                        74.55
 442909                  1        CASE 10-100CT TEA BAG W/TAG GCHC 117176                                                                           BV        4.08         40.78                        40.78
 601454                  2        CASE 6-50CT GCHC HOT COCOA MIX PKTS 50297                                                                         BV        8.81         52.84                       105.68
 201006                  2        CASE 1-10# BANANAS TURNING P/L                                                                                    PR       11.47         11.47                        22.94
  Totals:               74                    Total Grocery Pieces

                                                                                                                                                                            Page sub-total:            826.26



                                Spec Key
   Code                              Description
                                                                                                                                     Group Summary
    P                        Promotional Savings of $0.50
                                                                               Cases                  Group                                                    Amount          Tax                   Total
                                                                                  58        Grocery - GR                                                       2,360.32        0.00               2,360.32
                                                                                  29        Frozen - FR                                                          968.88        0.00                 968.88
                                                                                  17        Meat - MT                                                            987.89        0.00                 987.89
                                                                                   2        Seafood - SF                                                         130.73        0.00                 130.73
                                                                                   6        Poultry - PO                                                         330.13        0.00                 330.13
                                                                                  27        Dairy - DY                                                           608.14        0.00                 608.14
                                                                                  13        Disposables - DS                                                     563.22       33.79                 597.01
                                                                                   2        Sanitation - CP                                                      193.39       11.61                 205.00
                                                                                   5        Beverage - BV                                                        224.08        0.00                 224.08
                                                                                  14        Produce - PR                                                         291.55        0.00                 291.55
                                                                                 173        Total Case Count
Customer's signature evidences receipt of all items listed and its promise to pay the amount due to GFS. Customer agrees that if a check, draft
or any other order of payment (each, a "Transaction") issued for payment of this invoice is dishonored, GFS may re-present the Transaction                                 SubTotal               $6,658.33
and issue a draft against the account upon which the Transaction is drawn for a fee up to the maximum permitted by law. All unpaid invoices
are subject to a time price differential of 1 1/2% per month on the unpaid balance after the due date. ~ The perishable agricultural                             (1) MI State Tax - 6                 $45.40
commodities shown on this invoice are sold subject to the statutory trust authorized by section 5(c) of the Perishable Agricultural Commodities
Act, 1930 (7 U.S.C. 499e(c)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other                          Fuel Surcharge                   $5.00
products derived from these commodities and any receivable or proceeds from the sale of these commodities until full payment is received. ~
NSSP Certification #MI-020-RS ~ NSSP Certification #MI-017-RS                                                                                                           Invoice Total             $6,708.73
                                                                                                                                                  You Saved $0.50 today with GFS
                                                                                    GFS DRIVER                                                    promotions.
 Received By                                                                        Print Name




                      21-44887-lsg                Doc 108-5                 Filed 10/07/21                   Entered 10/07/21 15:19:24                               Page 16 of 20
                                       Gordon Food Service Inc                                                                         Page 6 of 6
                                       Shipped From Clay Distribution Ctr
                                       4900 Clay Avenue SW - Wyoming, MI 49548                                  Invoice               210320194
                                       Corporate Phone # 1-888--968-7500
                                       www.gfs.com
                                                                                                    Purchase Order

                                                                                                          Invoice Date                05/26/2021

Route        Stop         Customer                                               Representative                                             Terms
  1131          077       100269618 GRACEWAY AT COUNTRYSIDE                      970: Joshua Montez 1(800)905-1742 / 1(800)905-1742           10 DAYS SPLIT
                                                                                 751: Tom Frederick 1(800)968-6112




FOLD AND TEAR ALONG                                                                                                                            FOLD AND TEAR ALONG
PERFORATION THEN RETURN
BOTTOM PORTION
                                                            Thank you for your order.                                                      PERFORATION THEN RETURN
                                                                                                                                                   BOTTOM PORTION

                                                      Please enclose this stub with payment.

                                                                                         Customer Number                          100269618
          Remit To   Gordon Food Service, Inc.                                                         Invoice                    210320194
                     P.O. BOX 88029                                                         Purchase Order
                     Chicago, IL 60680-1029
                                                                                                  Invoice Date                    05/26/2021
                                                                                                Due Date                          06/05/2021
                                                                                         Pay This Amount                           $6,708.73
                     21-44887-lsg       Doc 108-5        Filed 10/07/21 Entered 10/07/21 15:19:24 Page 17 of 20
                                                                      100269618310210320194000670873900067087397
                                                Gordon Food Service Inc                                                                                                        Page 1 of 2
                                                Shipped From Clay Distribution Ctr
                                                4900 Clay Avenue SW - Wyoming, MI 49548                                                                   Invoice             210387113
                                                Corporate Phone # 1-888--968-7500
                                                www.gfs.com
                                                                                                                                           Purchase Order

                                                                                                                                                  Invoice Date                06/02/2021

GFS-MC      Stop        Customer                                                                                 Representative                                                               Terms
61751          15       100269618 GRACEWAY AT COUNTRYSIDE                                                        970: Joshua Montez 1(800)905-1742 / 1(800)905-1742                            10 DAYS SPLIT
                                                                                                                 751: Tom Frederick 1(800)968-6112



     Ship To GRACEWAY AT COUNTRYSIDE                                                                             Bill To GRACEWAY SOUTH HAVEN, LLC.
             120 BASELINE RD                                                                                             120 BASELINE ROAD
             SOUTH HAVEN MI 49090-1037                                                                                   LANSING MI 48909




  Item                 Qty                                                                                                                                 Invent.                               Extended
               Spec




                                                                                                                                                                                        Tax
                                                                                                                                                    Cat
                                   Unit                                            Item Description                                                                   Unit Price
  Code                 Ship                                                                                                                                 Value                                  Price
 770114        N         1       CASE 6-10" QUICHE SPNICH 10" FZ 05799                                                                             FR        16.77        100.59                        100.59
                                           THE ITEM LISTED ABOVE IS A SPECIAL ORDER ITEM (#4492888) AND
                                           MAY NOT BE RETURNED
  Totals:                1                    Total Grocery Pieces


 999999                  1       EACH 1-SPECIAL ORDER FREIGHT                                                                                      SV                      82.72                         82.72
                                           THE ITEM LISTED ABOVE IS A SPECIAL ORDER ITEM (#4492888) AND
                                           MAY NOT BE RETURNED
  Totals:                1                    Total Miscellaneous Pieces

                                                                                                                                                                            Page sub-total:             183.31



                               Spec Key
   Code                            Description
                                                                                                                                     Group Summary
    N                             Non-stock Item
                                                                               Cases           Group                                                           Amount           Tax                    Total
                                                                                   1 Frozen - FR                                                                100.59          0.00                  100.59
                                                                                   1 Service Items - SV                                                          82.72          0.00                   82.72
                                                                                   2 Total Case Count
Customer's signature evidences receipt of all items listed and its promise to pay the amount due to GFS. Customer agrees that if a check, draft
or any other order of payment (each, a "Transaction") issued for payment of this invoice is dishonored, GFS may re-present the Transaction                                 SubTotal                   $183.31
and issue a draft against the account upon which the Transaction is drawn for a fee up to the maximum permitted by law. All unpaid invoices
are subject to a time price differential of 1 1/2% per month on the unpaid balance after the due date. ~ The perishable agricultural                                    Invoice Total                 $183.31
commodities shown on this invoice are sold subject to the statutory trust authorized by section 5(c) of the Perishable Agricultural Commodities
Act, 1930 (7 U.S.C. 499e(c)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivable or proceeds from the sale of these commodities until full payment is received. ~
NSSP Certification #MI-020-RS




 Received By                                                                        Print Name




                      21-44887-lsg                Doc 108-5                 Filed 10/07/21                   Entered 10/07/21 15:19:24                               Page 18 of 20
                                       Gordon Food Service Inc                                                                         Page 2 of 2
                                       Shipped From Clay Distribution Ctr
                                       4900 Clay Avenue SW - Wyoming, MI 49548                                  Invoice               210387113
                                       Corporate Phone # 1-888--968-7500
                                       www.gfs.com
                                                                                                    Purchase Order

                                                                                                          Invoice Date                06/02/2021

GFS-MC       Stop         Customer                                               Representative                                             Terms
 61751          15        100269618 GRACEWAY AT COUNTRYSIDE                      970: Joshua Montez 1(800)905-1742 / 1(800)905-1742           10 DAYS SPLIT
                                                                                 751: Tom Frederick 1(800)968-6112




FOLD AND TEAR ALONG                                                                                                                            FOLD AND TEAR ALONG
PERFORATION THEN RETURN
BOTTOM PORTION
                                                            Thank you for your order.                                                      PERFORATION THEN RETURN
                                                                                                                                                   BOTTOM PORTION

                                                      Please enclose this stub with payment.

                                                                                         Customer Number                          100269618
          Remit To   Gordon Food Service, Inc.                                                         Invoice                    210387113
                     P.O. BOX 88029                                                         Purchase Order
                     Chicago, IL 60680-1029
                                                                                                  Invoice Date                    06/02/2021
                                                                                                Due Date                          06/15/2021
                                                                                         Pay This Amount                           $183.31
                     21-44887-lsg       Doc 108-5        Filed 10/07/21 Entered 10/07/21 15:19:24 Page 19 of 20
                                                                      100269618310210387113000018331900001833193
                                                Gordon Food Service Inc                                                                                                       Page 1 of 1
                                                Shipped From Clay Distribution Ctr
                                                4900 Clay Avenue SW - Wyoming, MI 49548                                                                   Invoice            210474750
                                                Corporate Phone # 1-888--968-7500
                                                www.gfs.com
                                                                                                                                           Purchase Order

                                                                                                                                                  Invoice Date               06/08/2021

GFS-MC       Stop         Customer                                                                               Representative                                                              Terms
 61751          15        100269618 GRACEWAY AT COUNTRYSIDE                                                      970: Joshua Montez 1(800)905-1742 / 1(800)905-1742                                  Legal
                                                                                                                 751: Tom Frederick 1(800)968-6112



      Ship To GRACEWAY AT COUNTRYSIDE                                                                            Bill To GRACEWAY SOUTH HAVEN, LLC.
              120 BASELINE RD                                                                                            120 BASELINE ROAD
              SOUTH HAVEN MI 49090-1037                                                                                  LANSING MI 48909




   Item                   Qty                                                                                                                              Invent.                              Extended
                 Spec




                                                                                                                                                                                       Tax
                                                                                                                                                    Cat
                                     Unit                                          Item Description                                                                  Unit Price
   Code                   Ship                                                                                                                              Value                                 Price
  511343         N         1       CASE 12-8CT CEREAL TOTAL VARS 3800005239                                                                        GR         4.53        54.34                          54.34
                                            THE ITEM LISTED ABOVE IS A SPECIAL ORDER ITEM (#4506085) AND
                                            MAY NOT BE RETURNED
   Totals:                 1                  Total Grocery Pieces

                                                                                                                                                                           Page sub-total:                   54.34



                                 Spec Key
   Code                              Description
                                                                                                                                     Group Summary
    N                               Non-stock Item
                                                                               Cases          Group                                                            Amount          Tax                   Total
                                                                                   1 Grocery - GR                                                                54.34         0.00                  54.34
Customer's signature evidences receipt of all items listed and its promise to pay the amount due to GFS. Customer agrees that if a check, draft
or any other order of payment (each, a "Transaction") issued for payment of this invoice is dishonored, GFS may re-present the Transaction                                SubTotal                    $54.34
and issue a draft against the account upon which the Transaction is drawn for a fee up to the maximum permitted by law. All unpaid invoices
are subject to a time price differential of 1 1/2% per month on the unpaid balance after the due date. ~ The perishable agricultural                                   Invoice Total                  $54.34
commodities shown on this invoice are sold subject to the statutory trust authorized by section 5(c) of the Perishable Agricultural Commodities
Act, 1930 (7 U.S.C. 499e(c)). The seller of these commodities retains a trust claim over these commodities, all inventories of food or other
products derived from these commodities and any receivable or proceeds from the sale of these commodities until full payment is received. ~
NSSP Certification #MI-020-RS




  Received By                                                                       Print Name




FOLD AND TEAR ALONG                                                                                                                                                                          FOLD AND TEAR ALONG
PERFORATION THEN RETURN
BOTTOM PORTION
                                                                              Thank you for your order.                                                                                  PERFORATION THEN RETURN
                                                                                                                                                                                                 BOTTOM PORTION

                                                                        Please enclose this stub with payment.

                                                                                                                          Customer Number                               100269618
          Remit To      Gordon Food Service, Inc.                                                                                             Invoice                   210474750
                        P.O. BOX 88029                                                                                       Purchase Order
                        Chicago, IL 60680-1029
                                                                                                                                     Invoice Date                       06/08/2021
                                                                                                                                 Due Date                               06/08/2021
                                                                                                                          Pay This Amount                                 $54.34
                        21-44887-lsg              Doc 108-5                 Filed 10/07/21 Entered 10/07/21 15:19:24 Page 20 of 20
                                                                                         100269618310210474750000005434600000543464
